       Case 08-14631-GMB            Doc 28-1 Filed 03/18/08 Entered 03/18/08 16:55:25                     Desc
                                           orderntc Page 1 of 1
Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                     Case No.: 08−14631−GMB
                                     Chapter: 11
                                     Judge: Gloria M. Burns

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Shapes/Arch Holdings L.L.C.
   9000 River Road
   Delair, NJ 08110
Social Security No.:

Employer's Tax I.D. No.:
  22−3413451




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on March 18, 2008, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 28 − 2
Order Granting Application for Designation as a Complex Chapter 11 Case (Related Doc # [2]). The following
parties were served: Debtor, Debtor's Attorney, and US Trustee. Signed on 3/18/2008. (dac)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: March 18, 2008
JJW: dac

                                                                    James J. Waldron
                                                                    Clerk
